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                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF PENNSYLVANIA
____________________________________

SIMBI KESIYI WABOTE,                :
      Plaintiff,                    :
                                    :
            v.                      :                        No. 5:21-cv-2214
                                    :
JACKSON UDE,                        :
      Defendant.                    :
____________________________________

                                            ORDER

       AND NOW, this 28th day of March, 2022, upon consideration of Defendant’s letter-

request, which is attached below, wherein he asks the Court to continue his deposition, which is

currently scheduled for later today, IT IS ORDERED THAT:

    1. Defendant’s request for a continuance is DENIED 1;

    2. Defendant and his counsel, and counsel for Plaintiff is ordered to appear at the Edward N.

       Cahn U.S. Courthouse and Federal Building, Courtroom C, Third Floor, 504 West

       Hamilton Street, Allentown at 2:00 p.m. on this day, as originally planned, at which time

       a settlement conference will be held for up to one hour;

    3. The Court orders Mr. Wabote to make himself available by telephone during the

       settlement conference;

    4. If a settlement is not reached in that time, then the originally scheduled deposition will

       take place promptly at 3:00 p.m. or earlier; and




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        Despite Defendant’s proffer that Plaintiff agreed to the requested continuance, Plaintiff
states in correspondence to the Court that he “did NOT agree to postpone the deposition and
ONLY agreed that Defendant may ask” the Court for a continuance. According to the Plaintiff,
he was, and is still planning for the deposition to move forward as originally scheduled.
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5. Defendant is hereby warned that he may be subject to additional sanctions and/or be held

   in contempt if he fails to appear in this Court today at 2:00 p.m.



                                                  BY THE COURT:



                                                 /s/ Joseph F. Leeson, Jr._______________
                                                 JOSEPH F. LEESON, JR.
                                                 United States District Judge




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                          BENNETH O. AMADI, ESQUIRE.
                            Attorney and Counselor at Law
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                              Lynn, Massachusetts 01901
                                       __________
                                      781-581-5144
                                   Fax: 781-581-5145
                                bamadilaw@verizon.net

Via Email.


March 26, 2022.

The Honorable Joseph F. Leeson, Jr.
United States District Judge
Eastern District of Pennsylvania
504 West Hamilton Street, Suite 3401
Allentown, Pennsylvania 18101

Re:    Wabote v. Ude
       C.A. No. 5:21-cv-02214-JFL.

       Defendant’s and Plaintiff’s Request for one week continuance of the
       Defendant’s Deposition Scheduled for March 28, 2022, in order to complete
       their settlement negotiations and the resolution of this case.


Dear Judge Leeson, Jr.,

I am the Defendant’s counsel in this case. I am writing this letter on behalf of the parties
in this case and based on the agreement reached between the Plaintiff and the Defendant
to request the Court to continue the Defendant’s deposition scheduled for Monday,
March 28, 2022, for one week, in order to enable the parties to complete their settlement
negotiations and the resolution of this case. The parties respectfully ask the Court to grant
this request in the interest of justice.

The parties in this matter, through their Attorneys, Mr. Cilento for the Plaintiff, and
myself, Mr. Amadi, for the Defendant, spoke in the evening of Friday, March 25, 2022,
regarding this Wabote v. Ude matter, and agreed that the parties were presently closer to
resolving this matter than ever before. We also agreed that I (Defendant’s Attorney)
should on Saturday, March 26, 2022, send an email to Your Honor’s Chambers
informing Your Honor about the parties' closeness to resolving the case, and request
Your Honor to grant the parties an extension by one week on the Defendant's scheduled
deposition for Monday, March 28, 2022, and to continue the 3/28/2022 Defendant’s


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deposition by one week, to enable the parties to conclude their settlement
negotiations/agreement and report back to the court. However, if the parties fail to reach
an agreement (which is doubtful), the Defendant's deposition will take place on the next
adjourned date. The parties also agreed that I should follow up the Saturday’s email to
Your Honor’s Chambers with a call to the Your Honor’s Chambers on Monday morning,
March 28, 2022, in relation to the parties’ request in this letter.

The parties are very close to resolving this matter. They therefor respectfully ask that this
request be granted.

Sincerely,

/s/Benneth O. Amadi
Benneth O. Amadi, Esquire.


cc: Attorney Mike Cilento.




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